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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

ELECTROLUX HOME PRODUCTS, INC.,

 

P]aintiff,
VS. No.OS-MC-1007-T
WHITESELL CORPORATION,

Defendant.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
D. Chris Carson has moved for permission to permit J ames A. Hoover to participate
mg M U in this action. l\/lr. Hoover is a member in good standing in the U. S. District
Court for the Northern District of Alabama. For good cause shown, that motion is granted
lt is hereby ordered that James A. Hocver be admitted pr_o hac m and may actively

participate in this action, including pre-trial and post-trial proceedings before this court.

QM/M»z>. M

JA S D. TODD
TED STATES DISTRICT JUDGE

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IT IS SO ORDERED.

This document entered on the docket sheet_l compliance
with ausa ss and,-'or_rs (a} FncP en `

     
 

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case l:05-MC-0]007 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

